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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 NEW MEXICO CATTLE GROWERS’ ASSOCIATION,

                       Plaintiff,

         v.

 UNITED STATES FISH AND WILDLIFE SERVICE,
 et al.,
                                                                   No. 1:21-cv-3263-ACR
                        Federal Defendants,

         and

 CENTER FOR BIOLOGICAL DIVERSITY and
 MARICOPA AUDUBON SOCIETY,

                        Intervenor-Defendants.


      FEDERAL DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 56, Local Civil Rule 7(h)(2), and this Court’s

June 1, 2023, Minute Entry, Defendants the U.S. Fish and Wildlife Service (“Service”); the U.S.

Department of the Interior; Deb Haaland, in her official capacity as Secretary of the Interior; and

Martha Williams, in her official capacity as Director of the Service (collectively, “Federal

Defendants”) hereby move for summary judgment on all of Plaintiff New Mexico Cattle

Growers’ Association’s (“Cattle Growers”) claims in this matter.

        In support of this motion, Federal Defendants submit a memorandum of points and

authorities.




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Dated: August 7, 2023          Respectfully submitted,

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                               U.S. Department of Justice
                               Environment & Natural Resources Division
                               S. JAY GOVINDAN, Section Chief
                               MEREDITH L. FLAX, Deputy Section Chief

                               /s/ Astrid Stuth Cevallos
                               ASTRID STUTH CEVALLOS, Trial Attorney (MD Bar)
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                               Counsel for Federal Defendants




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                                CERTIFICATE OF SERVICE

       I certify that I electronically filed and served the foregoing with the Clerk of the Court for

the United States District Court for the District of Columbia using the CM/ECF system.

                                      /s/ Astrid Stuth Cevallos
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